                                                               Tidelands No.      9


              Kninu All filtn dig aUlese IhiNStli15 that the State of Alaska, pursuant to Article III, Chapter
              169, SLA 1959, as atnended,and in consideration of: . A Municinel. ?reference light pursuant

               co_Artiale...III,...5eation..3 (3)10.. Chapter 169, SL& 1959, as amended, and tha rules

               saml.reguiatione promulgated thereunder.

              and other good and valuable consideration, does hereby grant to:            ..




                                                                 CITY Of JUNEAU
                                                                 155 SOD11 SEWARD STRUT

                                                                 OMAR,                         ALASKA

              .1ta                    heirs and assigns, those Tidelands lying seaward of the mean high tide line in

              .Iteatinean .Ciannal                   , State of Alaska, described as follows:

               All of that parcel of tide and submerged Land containing 231.51 acres, nors or less,
               as designated on the official plat thereof, known as Alaska Tideland Survey Mo. 3
               (CS 411 67R).

               legloning at Cornet N. 1, identical with Corner No. 1, 11. S. Survey No. 7, Juneau
               Twousite. Meese from Corner No. 1 by notes and bounds, R. 37* 17' W., 300.00 ft.,
               to Comer N. 2; N. 22' 07' V., 300.00 ft., to Corner N. 3; N. 40 ° 13' V., 154.00
               ft., to Corner No. 4; N. 23' S4 1 W., 130.00 ft., to Coverer No. 5; N. 37' 29' V.,
               345.90 ft., to Comer 16a. 6; N. 80' 21' W., 363.40 ft., to Coiner M. 7; S. 59" 47'
               W., 250.70 ft., to Corner No. 8; S. 17* 23' M., 194.40 ft., to Corner No. 9; M. 76'
               36' W., 200.30 ft., to Corner No. 10; N. Se 38' W., 110.00 ft., to Corner No. 11;
               N. 52* 42' W., 147.00 ft., to Corner Mo. 12; M. 32' 49' W., 195.90 ft., to Corner
               No. U; N. 58* 59' W., 140.60 ft., to Corner Mo. 14; N. 21' 33' V., 169.80 ft., to
               Corner No. 15; M. 56' 18' W., 152.60 ft., to Corner No. lig N. 38° 21' W. 173.80
               ft., to Corner No. 17; 8. 71' 39' W., 140.30 ft., to Corner No. 18; S. 56 6 42 W.,
               202.39 ft., to Corner No. 19; S. 61' 53' W., 39.60 ft., to Corner Ne. 20; S. 61'
               01' W., 267.65 ft., to Calmer No. 21; S. 72' 35' W., 147.80 ft., to Conner Na. 22;
               S. 46' 28' V., 68.11 ft., to Corner No. 23; 3. 45' 35' V., 173.50 ft., to Corner No.
               24; N. 79' 27' W., 312.60 ft., to Corner No. 25; N. 66 6 28' W., 733.20 ft., to
               Career No. 26; M. 30' 16' W., 492.00 ft., to Corner No. 27; N. 32' 41' W., 182.16
                ft., to Corner So. 28; N. 65" IS' 43" W., 153.87 ft., to Corner No. 29; X. 62' 03'
               W., 124.74 ft., to Corner No. 301 X. 67' 16' 45" W., 105.60 ft., to Ceram No. 31;
                N. 39' 20' 43" W., 916.10 ft., to Corner No. 32; N. 59" 37' 45" v., 448.80 ft., to
                Corner No. 33; N. 43' 21' 45" W., 257.40 ft., to Corner No. 34; N. 37' 58' 45 m W.,
                337.30 ft., to Corner Ne. 35; S. 48 6 43' W., 1195.94 ft., to Career No. 36; S. 41'
                18' I t, 3472.34 ft...4o Ceram N. 37; S. 71 ° 07' 2., 2300.00 ft.. to Covist.No. 344
                S. 64' 2., 1850.00 ft., to Comm No. 39; S. 42' 14' 32" 1., 3002.34 ft., to Comm
                                  °
                No. 406 N. 47 44' 11" 1., 344.45 ft., to Camay No. 41; N. 37' 12' V., 13.11 ft.,
                to Comm No. 42; N. 64° 37' W., 36.61 ft., to Comet No. 43; N. 27' 06' W., 104.70
                ft., to Ceram N. 44; N. 38' 30' W., 62.53 ft., to Corner No. 45; N. 17' 32' W.,
                62.87 ft., to Carom No. 46; N. 12' 45' 1., 27.02 ft., to Comm N. 47; N. 46° 53'
                W., 46.67 ft., to Comm N. 44; N. 16° 17' 0., 12.43 ft., to Comer N. 49; M. 39'
                35' 1., 20.69 ft., to Comic No. 30; N. 35° 53' V.,.61.63 ft., to Corner N. 31;
EXHIBI1          2
  Case 3:92-cv-00734-HRH
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                         Document
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                                   Exhibit 10 Filed 04/30/10 Page 1 of 3
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                S. 32' 30' 2., 40.05 ft., to Career Mo. 32; X. 51 • 54' V., 112.6'4 ft. to dhow
                Me. 53; M. 38 6 36' V. 117.61 ft., to Career So. 54; 2. 51 6 46' V., 16.22 It.,
                to Caesar Os. 33; N. :4 6 OS' V., 36.42 ft., to Carom Mo. 56;     52' 04° V., 26.73
                ft., to Cursor Ms. 57; M. 31 ° 21' V., 26.51 ft., to °muss Os. 58; M. 23' 24' V..
                75.50 ft., to Career Me. 52; M. 40' 06' V., 30.32 ft., to Mauer So. 60; M. 21 6 30'
                ✓., 26.09 ft., to Ceram Me. 61; S. 33' 36' V., 8.92 ft., to Omer Mo. 42; M. 32'
                03' V., 142.06 ft., to Cosset Mo. 63; I.■ 306 42' V., 212.89 ft., to Cosmos Me. 64;
                N. 386 M s V., 214.08 ft., to Calmer me. 65; S. 506 31' V., 148.40 ft., to Ceram
                Me. 66; 11. 34 ° 31' V., 148.19 ft., to Career Mo. 67; N. 36' 51' V. 147.33 ft., to
                Corner Me. 68; M. 45 6 37' 30" V., 263.03 ft., to Corner w. 62; M. 31' 54' M.,
                138.21 ft., to Corner So. 70; N. 606 40' I., 24.40 ft., to Career Me. 1, the plass
                of bogie:dug.

                                                                           IMCZITIOMS

                V. S. SORRY ND. 3566:
                      legissieg at Coma' Se. 1, free ubemee Career Me. 11, Alaska Tidelmods Survey
                Se. 3, Were S. 21' 53' I., 154.61 ft. diatom. Themes free Corner Me. 1, by onto&
                mad bounds. S. 2' 17' W., 109.66 ft., to Carver So. 2; S. 23' I., 164.01 ft., to
                Corset Mo. 3; S. 67' 12 ° M., $46.99 ft., to Corner Se. 4; N. 23' 16' V., 681.58 tt.,
                to Cosset Me. 5; N. 57 6 47' I., 354.68 ft., to Carew Me. 6; N. 25 6 20' V., 431.31
                ft., to Career se. 7; N. 64° 40' E., 13.00 ft., to Career No. S; N. 25° 20' V., 77.02
                ft.. to Career No. 2; N. 64• 40' t., 37.03 ft., to Career Mo. 10; S. 23° 20° I.,
                302.33 ft., to Cerium No. 11; N. 57' 47' E., 233.3$ ft., to Corner Se. 12; S. 45*
                34' t., 79.99 ft., to Carver No. 13; S. 43 6 42' V., 61.45 ft., to Career Mo. 14;
                S. 46' 16' I., 69.30 ft., to Cormier so. 15; N. 46° 50' I., 154.31 ft., to Caress
                Me. 16; S. 45 6 22' B., 220.37 ft.,     Corner Me. 17; S. 45 6 08' V., 104.15 ft., to
                Corset Me. 18; S. 46 ° 10' S., 91.06 ft., to Carver No. 12; N. 41 ° 12' t., 158.40
                ft., to Caesar Me. 20; S. 45' 34' 1., 50.49 ft., to Corer Me. 21; S. 23' 25' E..
                 34.52 ft., to Corner Mo. 1, the place of begin:miss.

                 V. S. POMIST SIMI= TIACT:
                        Seglemias at Career Mo. 1, true whesee Cores, Me. 26, Alaska Tidelands Survey
                 Mo. 3, beer* M. 69 ° 0$?' 11., 323.70 ft. diatoms. Theme. from Corset Me. 1, by
                 mesa amd lemmas, S. 33 6 56' W., 301.43 . ft., to Cormier So. 2; M. 34 6 04' V., 1011.211
                 ft., to Career Mo. 3; S. 53 ° 56' 1., 230.02 ft., to Canker Mo. 4; S. 34 6 04' 2.,
                 60.00 ft., to Career Mo. 5; N. 55 6 56' I., 77.50 ft., to Corner Mo. 6; S. 35° 06'
                 45 6 t., 50.00 ft., to Corner Se. 1, the place of best:mime.

                 V. S. 7/211 AID =ALM Starlet TRACT:                                ("it' PaP- -1   -


                      a•aismiss at Corms Me. 1, from whinge Corm= Ms. 11, Alaska Tidelands survey
                 to. 3, bases M. 2' 49' I., 407.76 ft. distant. Themes from Career' Mo. 1, by SIOC48
                 sed bounds, S. 23 ° 2., 140.50 ft., to Corner Se. 2; N. 67° I., 93.50 ft., to Comer
                 Mo. 3; N. 23' V., 140.50 ft., to Corner Mo. 4; S. 67' W., 23.50 ft., to Corms Me. 1,
                 the Aso: of bogies/ma.

                 VAR MDVSIMS 1910.112CT ALMA-50013:
                      Seoiemies at Comer Ms. 1, identical with Carper Me. 10, V. S. Survey Me. 3566,
                 from ober= Corse. Mo. 20, Alaska Tidelands Survey No. 3, bears R. 24 6 42' 10m V.,
                 161.12 ft. distant; theses from Corner So. 1, by meted and bounds, M. 64' 27' 2.,
                 02.56 It., to Coarser Me. 2; X. 63' 30' E., 140.08 ft., to Corner Mo. 3; thosme
                 along a sires/or curve with a radius of 80.00 ft., om are distaste of 109.51 ft.,
                 to Corner Ms. 4, which bears S. 77 6 17' K., 101.16 ft., from Corner Me. 3; S. 3$ 6
                 04' 2., 50.55 ft., to Carver No. 5; S. 37 ° 16' I., 32.43 ft., to Career Me. 6;
                 S. 36 ° 42' I., 32.57 ft., to Co.... Mo. 7; S. 646 24' W., 104.20 ft., to Causer
                 No. 81 S. 23 6 36' R., 68.10 ft., to Career Me. 2; S. 646 24' V., 231.11 ft., to
                 Cursor Mo. 10; N. 25 6 20' W., 161.64 ft., to Career Mo. 1, the place of begiumist.
                                                            IMOIAX
                                                                 Segismims at Career So. 1, identical with Career Mo. 21,
                                                           Alaska Tidelands Survey Me. 3. Thames, from Come is. 1,
                                                           • mot.. and bounds, 3. 72° 33' v., 13.34 ft., to Corm: N.
                                                           2; S. 13' 20' I., 71.10 ft., to Ceram Os. 3; M. 65 ° 16' 206
                                                           2., 21.00 ft., to Caesar Ms. 4; S. 24' 33° 40' 2., 33.12 ft.,
                                                           to Carlow Me. 5; M. 63 • 26' 20m I., 35.22 ft., to Carver Mo. 6;
                                                           S. 246 33' 40" 1., 27.00 ft., to Comer Mo. 7; X. 64 ° 46' 30"
                                                           S., 197.85 ft., to Carver Ms. 81 M. 64 ° 01' 30" I.. 321.34
                                                           ft., to Corner Mo. 2; M. 44" 39' 30" 2., 92.42 ft., to
               -2                                           toross Mo. 10; ■. 38• 21' V., 114.31 ft., to Comm Mo. 11;                       .




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                           way of oh.. •                         Page 2 of 3    -2.
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                                                  741' f,I t W., 1.48.30 ft., to Carver Xs. II I; 3. 5& * 43' W.,
                                               =2.39 ft.. to Corcer ria. 13; S. 61* 53' W., 39.60 ft., to
                                               Corner ro. 14; S., 61* 01' W., 2•7.65 ft., to Career So. 1,
                                               tke place. 41 loegioniug.



              'MULL Ant                                                                                                      331.01 ACLU

                 FICIPTIG0S:

                 W. S. Survey        ro.
                                   3546                                                  14.59 acres
                 U. S. Forest Service Ireet                                               0.67 saris
                 U. S. Fleh end Wildlife Service Trrct                                    0.30 acres
                 Wes not:aloe Project Alaska-50083                                        1.65 acres
                 Indigo Reserve                                                           2.29 acres



              szrz AMU OT CTTT or j11 AU                                                                                      231.51 ACICE




                      section                                                               , Ranee 47 Fois t                ;„. a..         Meridian
             according to the official plat. of survey thereof, on lily .aid Of record with the Division of Lands and recorded in
             na lo.   61-111 Plat            . 293
                                           „r th e niti i:11 ia!cords of the jUlleX13      Recording Precinct.               JiAntilltts         , Alaska
                                                      ,




                      The Grantor, Alaska, expressly reserves, OM of the grant hereby triode, unto itself, its lessees, successors,
             and assigns forever, all oils, gases, coal. ores, minerals. fissionable materials, and fossils of every name. kind or descrip-
             tion, and which may be in or upon said ,ibov• described. or ally part thereof, aria the right to explore the same
             for such oils, gases, coal. ores, inmerats. fissionable material• and fossils of every name, kind or description, and
             which inaj be in o r upon said lands annve ric,i•rmed, any part thereof, and the right to explore the same
             for such oils. gases, coal. ore•;. minerals, fissionable wu t e rtals m i d Lessils , and it also hereby expressly saves and re-
             serves out of the grant hereby made, unto itself. its lessees, successors and assigns forever, the right to enter by itself,
             its or their agents, attorneys, and servants upon said lands, or any part or parts thereof, at any and all times, for
             the purpose of opening. developing, drilling and working mines or wells on these or other lands, and taking out and
             removing therefrom all such oils, gases, coat. ores. minera•, fissionable materiaLs and fossils, and In that end it fur-
             ther expressly reserves out of the cram hereby made..neon Itself, its lessees. successors, and assigns forever, the
             right by its .tr their •ent,. :!, tvants and attorn•••: nt ❑ nv and all times to erect. , onstruet • maiatain, and use tilt •lleh
                        machinery, mik, pipehor;i, powerhi••, an,t imitoad.t. :link such shafts. did] such wells, remove such
             and to remain on said lands or any part thereof fel the foregoing purposes and to occupy as couch of said lands as
             may he necessary or rmivenimit for •ei' purpose!: her, by c::pressly reserving to itself, its lessees, successors. and
             assigns. as aforesaid, gm:et - ally lid right:; and power in. to. and over said land. whether herein expressed or not,
             reasonably necessary or convenient to needier heneficiril and efficient the complete enjoyment of the property and
             rights hereby expressly re! cried.
                       This indenture is executed subject to the ,!ovenant that no person, firm, association or corporation shall
             take herring spawn in waters on or over the ticeian       IICE.•::r1 convoyed, nor shall any peri:ori, firm, association,
             organization or ,orriorator , Cr,gaer in the 1alr.  rtirr ■•■- •xchnnve of herring spawn fur profit. providing however,
             nothing: he is vi s cem er ir:Jtohd, taking Of herrim; spawn by residents of this State for
             t I) personal consumption or (2) barter or extthanE.! I'i' !tie ticcr,ssities of life, pursuant to Section 1, Chapter 34,
             SLA,..14/LA.




             ills lintrr nub tn Eno the said land with the appurtenances thereof unto the said Grantee and
                its           heirs and assigns forever.


             3n Cirrntimang EillIrrenf the state of Alaska has caused these presents to be executed by the Director
             of the Division of Lands pursuant to Article II, Chapter 169, SLA 1959, as amended this • 7t1t

             day of             February                       A.D. 19 62


            -2State Record of Patents
                                                                              Director, Division of Lande—t-

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